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                          UNITEDSTATESDISTRICTCOURT
                          EASTERNDISTRICTOFLOUISIANA

THAD TATUM,
an individual,                                   CASENO.:

             Plaintifl
                                                 Judge:
vs.

GAUTREAUXFAMILY,LLC.                             Magistrate:
a LouisianaLimited Liability Company

             Defendant.


                                       COMPLAINT

      Plaintiff, THAD TATUM, by and through his undersignedcounsel,hereby files this

ComplaintandsuesGAUTREAUX FAMILY,LLC., a LouisianaLimited Liability Company,for

declaratoryand injunctive relief, attorneysofees, and costs pursuantto the Americanswith

           Act,42 U.S.C.$ 12181et s€Q.,andalleges:
Disabilities

                            JURISDICTION AND PARTIES

l.    This is an actionfor declaratoryandinjunctiverelief pursuantto Title III of the Americans

      With DisabilitiesAct, 42U.S.C.S l2l 8l etseq.(hereinafter
                                                             referredto asthe"ADA"). This

      Courtis vestedwith originaljurisdictionpursuantto 28 U.S.C.SSl33l and 1343.

2.    Venueis properin this Courtpursuant
                                        to 28 U.S.C.$1391(b).

3.    Plaintifl THAD TATUM, (hereinafterreferredto as"MR. TATUM" oT"PLAINTIFF"), is

      a residentof OrleansParish,Louisiana.

4.    MR. TATUM is a qualifiedindividualwith a disabilityunderthe ADA. MR. TATUM is
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      afflictedwith paraplegia.

5.                                                impairedin severalmajorlife activitiesand
      Dueto hisdisability,PLAINTIFFis substantially

      requiresa wheelchairor walkerfor mobility.

6.    Upon informationand belief, DefendantGAUTREAUX FAMILY, LLC. is a Louisiana

      LimitedLiability Company,(hereinafterreferredto
                                                   as"DEFENDANT"). DEFENDANTis

      the owner,lessee,lessorand/oroperatorof the real propertiesandimprovements
                                                                               which is

                                                     Mall, generallylocatedat 4201-4241
      the subject of this action, to wit: Independence

      Veteran'sMemorial Highway,Metairie,LA 70005. The DEFENDANT is obligatedto

      complywith the ADA.

7.    All eventsgiving riseto this lawsuitoccurredin the EasternDistrict of Louisiana,Orleans

      Parish,Louisiana.


                   COUNT I - VIOLATION OF TITLE III OF THE
                        AMERICAhIS WITH DISABILITIES ACT

8.                                         I - 7 asif theywereexpresslyrestatedherein.
      PLAINTIFFreallegesandreaversParagraphs

9.    The Propertyis a placeof public accommodation,
                                                  subjectto the ADA, generallylocatedat

      4201-4241
              Veteran'sMemorialHighway,Metairie,LA 70005.

10.    MR. TATUM has visited the Propertyand plansto visit the Properlyagainin the near

      future.

ll.   During his visit, MR. TATUM experiencedseriousdifficulty accessingthe goodsand

                                                                           in paragraph14of
      utilizing the servicesthereindueto thearchitecturalbarriersasdiscussed

      this Complaint.
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12.   MR. TATUM continuesto desireto visit the Propefry,but continuesto experienceserious

                                           in Paragraph14which still exist.
      difficulty dueto the barriersdiscussed

13.   MR. TATUM intendsto andwill visit the Propertyto utilize the goodsandservicesin the

      future,but fearsthathe will encounterthe samebarriersto accesswhich arethe subjectsof

      this action.

14.   DEFENDANTis in violationof 42U.S.C.$ 12181et seq.and28C.F.R.$ 36.302etseq.and

      is discriminatingagiinst PLAINTIFF due to, but not limited to the following violations

                                                        which hinderedhis access:
      which PLAINTIFF personallyobservedand/orencountered

             A.      In the parking area)there are no "van accessible" spacesdesignatedfor

                     disableduse;

             B.                   parkingspacesareimproperlydispersedandmarked;
                     The accessible

             C.      The signsdesignatingdisabledusespacesareimproperlyposted;

             D.      The disabledparking spacesare not the proper width and do not have

                     appropriateaccessaisles;

              E.                                  routefrom the parkingareato the facility;
                     Thereis no compliantaccessible

              F.                                  routefrom the streetto the facility;
                     Thereis no compliantaccessible

              G.     Therearerampsandcurb cutsat the facility that do not havelevel landings

                                          slopes,andfail to providea smoothtransitionwhere
                     and/orcontainexcessive

                     the rampsconnectwith the sidewalkandroadway

              H.     Therearecountersthatexceedthe manimumheightsallowed;

              I.     The resffoomsin the facility arenon-compliant;and

              J.     Noncompliantdoorhandles.
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15.   Furthermore,I)EFENDANT continuesto discriminateagainstPLAINTIFF, and others

      similarly situated,by failing to make reasonablemodificationsin policies,practicesor

      procedures,when such modificationsare necessaryto provide PLAINTIFF an equal

      opportunityto participatein, or benefit from, the goods,services,facilities, privileges,

                               whichDEFENDANToffersto the generalpublic;andby
               andaccommodations
      advantages,

                                               to ensurethatno individualwith a disability
      failingto takesucheffortsthatmaybenecessary

      is excluded,denied services,segregated,or otherwisetreated differently than other

      individuals becauseof the absenceof auxiliaryaidsandservices.

16.   To date,all barriersto accessandADA violationsstill existandhavenot beenremediedor

      alteredin sucha way as to effectuatecompliancewith the provisionsof the ADA, even

      thoughremovalis readilyachievable.

17.   Removal of the discriminatorybarriers to accesslocated on the Property is readily

                                                          and would not placean undue
      achievable,reasonablyfeasible,and easilyaccomplished,

      burdenon DEFENDANT.

19.   Removal of the barriers to accesslocated on the Property would provide PLAINTIFF an

      equalopportunity to participate in, or benefit from, the goods,services,and accommodations

      which DEFENDANT offers to the generalpublic.

20.   Independent of his intent to return as a patron to the Property, PLAINTIFF additionally

      intendsto return as an ADA tester to determinewhether the barriers to accessstatedherein

      have been remedied.

21.   PLAINTIFF has been obligated to retain the undersigned counsel for the filing and

      prosecution of this action. PLAINTIFF is entitled to have his reasonableattorneys' fees,
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                       paidby DEFENDANT,pursuantto 42 U.S.C.$ 12205.
       costs,andexpenses

       WHEREFORE,PLAINTIFF demandsjudgmentagainstDEFENDANT, andrequeststhe

following injrurctiveanddeclaratoryreliefi

       A.     That this Court Declare that the Property owned, leasedand/or operatedby

              DEFENDANT is in violation of the ADA;

       B.     Thatthis Courtenteran OrderdirectingDEFENDANTto alterthe facility to make

                          to anduseableby individualswith disabilitiesto thefull extentrequired
              it accessible

              by Title III of the ADA;

       C.     Thatthis CourtenteranOrderdirectingDEFENDANTto evaluateandneutralizeits

                                             towardspersonswith disabilitiesfor a reasonable
              policies,practices,andprocedures

                                                  andcompletionof correctiveprocedures;
              amountof time, allowingimplementation

       D.                                  attorneys'fees,costs(includingexpertfees),and
              Thatthis Court awardreasonable

              otherexpensesof suit,to PLAINTIFF;and

       E.                                                                       just and
              That this Court awardsuchotherandfurtherrelief as it deemsnecessary,

              proper.

                                                  RespectfullySubmitted,

                                                  THE BIZER LAW FIRM
                                                  Attorneysfor Plaintiff
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